
*1240OPINION.
Lansdon:
The petitioner contends that in the circumstances set out above he sustained a loss in 1922 in the amount of $14,510.03. The respondent has disallowed this deduction on the theory that the payment, having been made .by a stockholder of the corporation for the purpose of protecting his interest therein, must be regarded as additional cost of the petitioner’s stock. Upon authority of prior decisions of the Board we must hold that this view is correct. Harry E. Lutz, 2 B T. A. 484; John G. Paxton, 7 B. T. A. 92; Warren E. Burns et al, 11 B. T. A. 524; Burns v. Commissioner, 31 Fed. (2d) 399; 280 U. S. 564; B. Estes Vaughn, 17 B. T. A. 620; and Snider B. Ward, 18 B. T. A. 326.

Decision will he entered for the respondent.

